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Exhibit C

Oard V. Couz:zty ofMuSkegon and 14th Judjcja] ercujt C'ourt
1117'CV'1136

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

VERNON OARD,

Plaintiff,

COUNTY OF MUSKEGON, and
14TH JUDICLAL CIRCUIT COURT,

Defendants.

Case No. 1:17-CV-1136
Hon. PAUL L. MALONEY

 

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& KENNEDY, LLP

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JOHNSON, ROSATI,

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DEFENDANTS' RESPONSE TO PLAINTIFF’S
FIRST INTERROGATORIES TO DEFENDANTS

Defendants, through their attorneys Johnson, Rosati, Schultz & Joppich,

P.C., answer Plaintift"s First Interrogatories to Defendants as follows:

GENERAL OBJECTIONS

Defendants incorporate by reference each and every General Objection set

 

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forth below into each of their objections to Plaintiff’s First Interrogatories. The
failure to specifically include any General Objection in any objection to a specific
interrogatory shall not be interpreted as a waiver of any General Objection to the
request. Defendants state the following General Objections:

1. Defendants object to each interrogatory to the extent that it seeks to
impose obligations upon Defendants beyond those required by the Michigan Rules.

2. Defendants object to providing any information or producing any
document that is protected from disclosure by the attorney-client privilege,
attorney Work-product doctrine, or by any other applicable privilege Defendants
will not produce any information protected from discovery by virtue of such
privileges or doctrines To the extent that any such privileged or otherwise
protected information is produced, the production is inadvertent and unintentional,
and Defendants do not intend to waive any applicable privilege or immunity as a
result of such productionl

3. Defendants object to Plaintiff’s interrogatories to the extent they
require Defendants to produce information or documents not within their
possession, custody, or control. Defendants also object to the extent the
interrogatories seek information nom or relating to any person or entity that is not
a party to this litigation.

4. Defendants object on the grounds that Plaintiff’s interrogatories are on

 

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the whole overly broad, unduly burdensome, vague, ambiguous, seek information
which is neither relevant nor material to Plaintiff’s claims, and seek information
that is not proportional to the needs of the case. No disclosure by Defendants of
any information or document shall constitute a Waiver of any objection

5. These responses are made solely for the purpose of this action. Each
response is made under all objections as to competence, materiality, relevance,
privilege, or other objection as to admissibility which may apply in the event that
any such response, or the information contained, is sought to be used in arbitration
Defendants expressly reserve all such objections

6. Defendants’ decision, now or in the future, to provide information or
documents notwithstanding the objectionable nature of any of the definitions or
instructions, or the interrogatories or requests themselves, should not be construed
as: (a) a stipulation that the material is relevant and material to Plaintiffs’ claims;
(b) a waiver of the General Objections or the objections asserted in response to
specific interrogatories or other discovery requests; or (c) an agreement that
interrogatories or requests for similar information will be treated in a similar
manner.

7. Defendants object to providing confidential and private information
regarding their employees who are not named parties to this litigation

Accordingly, Defendants Will only produce such information subject to an

 

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appropriate protective order.

8. These responses reflect Defendants’ current knowledge, but
Defendants’ investigation into these matters continues Accordingly, Defendants
reserve the right to assert additional objections as appropriate and to supplement
their responses to these interrogatories and requests Defendants expressly reserve
the right to assert additional general and specific objections to these interrogatories
and requests and to supplement their responses as their investigation continues

INTERROGATORIES

l. Please identify all individuals with whom Mr. Mark Eisenbaith
discussed Plaintiff’ s layoff from his position of Director of Youth Services, either
before or after Plaintiff’s employment was terminated

RESPONSE:

Defendants object that this request is overbroad and unduly burdensome
Defendants further object to the extent this interrogatory seeks information that
may be protected by the attorney-client privilege or attorney work product
doctrine.

Subject to and without waiving the foregoing objections, Mark Eisenbarth
discussed the elimination of the Director of Youth Services position with Finance
Director/Assistant County Administrator Beth Dick, and he presented it to the
members of the Board of Commissioners, including Commissioner Benjamin E.
Cross, Commissioner Marvin Engle, Commissioner Susie Hughes, former
Commissioner Jeff Lohman, Commissioner Kenneth Mahoney, Commissioner
Charles Nash, Commissioner Robert Scolnik, Commissioner Rillastine Wilkins,
and former Commissioner Terry Sabo, during the Board’s September 27, 2016
meeting.

 

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2. Please identify all individuals who participated in the decision to lay
off Plaintiff from his position of Director of Youth Services.
RESPONSE:

Defendants object that this request is vague and ambiguous, particularly with
respect to the phrase “participated in the decision.” Defendants fhrther object to
the extent this interrogatory seeks information that may be protected by the
attorney-client privilege or attorney work product doctrine.

Subject to and without waiving the foregoing objections, Defendants state
that County Administrator Mark Eisenbarth participated in the decision to
eliminate Plaintiff’s position as Director of Youth Services, which was
unanimously approved by the Board of Commissioners, including Commissioner
Benjamin E. Cross, Commissioner Marvin Engle, Commissioner Susie Hughes,
former Commissioner Jeff Lohman, Commissioner Kenneth Mahoney,
Commissioner Charles Nash, Commissioner Robert Scolnik, Commissioner
Rillastine Will<ins, and former Commissioner Terry Sabo, during the Board’s
September 27, 2016 meeting

3. Please identify all individuals who participated in any meetings or
discussions regarding the creation of the position Family Court Clinical Director
and/or the elimination of the position of Director of Youth Services.

RESPONSE:

Defendants object to this request as overbroad and unduly burdensome
Defendants further object to the extent this interrogatory seeks information that
may be protected by the attorney-client privilege or attorney work product
doctrine

Subject to and without waiving the foregoing objections, the following
individuals may have participated in meetings or discussions relating to the
creation of the Farnily Court Clinical Director position or the elimination of the
Director of Youth Services position: Plaintiff Vernon Oard, County Administrator
Mark Eisenbarth, Presiding Judge of the Family Court Hon. Gregory Pittman,

 

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Finance Director/Assistant County Administrator Beth Dick, former Circuit Court
Administrator Eric Stevens, Commissioner Benjamin E. Cross, Commissioner
Marvin Engle, Commissioner Susie Hughes, former Commissioner leff Lohman,
Commissioner Kenneth Mahoney, Commissioner Charles Nash, Commissioner
Robert Scolnik, Commissioner Rillastine Wilkins, and former Commissioner Terry
Sabo.

4. Please identify all individuals who participated in any meetings or
discussions relating in any way to the hiring process for the position of interim
and/or permanent Family Court Clinical Director.

RESPONSE:

Defendants object that this request is overbroad, vague, and ambiguous,
particularly with respect to the phrase “meetings or discussions relating in any Way
to the hiring process.”

Subject to and without waiving the foregoing objections, Defendants state
that the following individuals may have participated in meetings or discussions
relating to hiring for the position of Fann`ly Court Clinical Director: Louis
Churchwell, Muskegon Area lntermediate School District Director of
Nontraditional Programs Jessica Domingues, Muskegon County Administrator
Mark Eisenbarth, JTC Shift Supervisor Lucas Hakken, 14th Circuit Court ludge
Hon. Kathy Hoogstra, former Probation Officer Marlon James, Director of
Muskegon County Department of Health & Human Services Board Jane Johnson,
Presiding Family Court Judge Hon. Gregory Pittman, HealthWest Executive
Director Julia Rupp, Circuit Court Administrator Sandra Vanderhyde, Bruce
Wright, Commissioner Benjamin E. Cross, Commissioner Marvin Engle,
Commissioner Susie Hughes, former Commissioner leff Lohman, Commissioner
Kenneth Mahoney, Commissioner Charles Nash, Commissioner Robert Scolnik,
Commissioner Rillastine Wilkins, and former Commissioner Terry Sabo.

5. Please identify all individuals who were members of, or Who ever

participated in, “JJAT” committee meetings

 

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RESPONSE:

Plaintiff Vernon Oard, former Circuit Court Administrator Eric Stevens,
Circuit Court Administrator Sandra Vanderhyde, Thomas Cartwright, Carmelita
Coleman, Lisa Fox, Kelly France, Kim Green, Jordyn Havens, Holly Liefer,
Lindsay Nelson, Wayne Silver, and J ill Stamison.

6. Please identify all individuals who participated in, or were in any way
consulted regarding, the choice of Ms. Lindsay Nelson to serve as Interirn Family
Court Clinical Director.

RESPONSE:

Defendants object that this request is overbroad, vague, and ambiguous,
particularly with the phrase “consulted regarding.”

Subject to and without waiving the foregoing objections, the following
individuals may have been consulted or otherwise participated in the appointment
of Lindsay Nelson as the lnterim Superintendent/Clinical Director: County
Administrator Mark Eisenbarth, Presiding Judge of the Family Court Hon. Gregory
Pittman, Finance Director/Assistant County Administrator Beth Dick, then-Circuit
Court Administrator Eric Stevens, Commissioner Benjamin E. Cross,
Commissioner Marvin Engle, Commissioner Susie Hughes, former Commissioner
Jeff Lohman, Commissioner Kenneth Mahoney, Commissioner Charles Nash,
Commissioner Robert Scolnik, Commissioner Rillastine Wilkins, and former
Commissioner Terry Sabo.

7. Please identify all individuals who participated in, or were in any way
consulted regarding, the hiring of Ms. Lindsay Nelson for the permanent position
of Farnily Court Clinical Director.

RESPONSE:

Defendants object that this request is overbroad, vague, and ambiguous,

 

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particularly with the phrase “consulted regarding.”

Subject to and Without waiving the foregoing objections, the following
individuals may have been consulted or otherwise participated in the hiring of
Lindsay Nelson for the permanent position as Farnily Court Clinical Director:
Louis Churchwell, JTC Director of School Jessica Domingues, Lucas Hakken, .
Circuit Court Judge Hon. Kathy Hoogstra, former Probation Officer Marlon James,
Director of Muskegon County Department of Health & Human Services Bcard
Jane Johnson, Presiding Judge of Family Court Hon. Gregory Pittman, HealthWest
Executive Director Julia Rupp, Circuit Court Administrator Sandra Vanderhyde,
and Bruce Wright.

8. Please identify all individuals who participated in, or were in any way
consulted regarding, any investigation into Mr. Eric Stevens’s conduct or behavior
while employed with Defendants
RESPONSE:

Defendants object that this interrogatory is overbroad, unduly burdensome,
vague, ambiguous, and that it seeks information that is not proportional to the
needs of the case. Defendants also object to this interrogatory as it seeks personal
information regarding individuals who are not parties to this action. Defendants
further object to this interrogatory to the extent it calls for information and
documents that may be protected by the attorney-client privilege or attorney work
product doctrine.

Subject to and without waiving the foregoing objections, Defendants state
that in addition to the present action, former Muskegon County employee Jill
Stamison filed a Charge of Discrimination with the Equal Employment
Opportunity Commission relating to then-Circuit Court Administrator Eric
Stevens. The Equal Employment Opportunity Commission investigated and
dismissed the Charge, issuing a no-cause iinding.

9. Please identify all individuals who were members of the panel/group

that conducted the first interviews for the position of Family Court Clinical

 

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Director in November and/or December 2016.
RESPONSE:

Louis Churchwell, Jessica Domingues, Lucas Hakken, Hon. Kathy
Hoogstra, Marlon James, Sandra Vanderhyde, and Bruce Wright.

10. Please identify all individuals who were members of the panel/group
that conducted the second interviews for the position of Family Court Clinical
Director in November and/or December 2016.

RESPONSE:

Jane Johnson, Hon. Gregory Pittman, .lulia Rupp, and Sandra Vanderhydel

ll. Please identify all individuals who participated in searching for
documents responsive to Plaintiff’s First Request for Production of Docunrents,
including all Information Technology (IT) personnel.

RESPONSE:

Defendants object to the extent this interrogatory seeks information that may
be protected by the attorney-client privilege or attorney work product doctrine.

Subject to and without waiving the foregoing objections, Sandra
Vanderhyde and IT Manager Mark Hansen primarily assisted in gathering the
information to respond to Plaintist discovery requests

 

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Dated: dl/Ll§j thZOl$??

PROOF OF SERVICE

As to objections only,

JOHNSON, ROSATI,
SCHULTZ & JOPPICH, P.C.

  
   

 

  

l/aura Bailevarown r"
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(P79742)

The undersigned certifies that the foregoing
was served upon all parties to the above
cause to each of the attorneys/parties of
record herein at their respective addresses
disclosed on the pleadings on

7/ 5 // v t
U.S. Mail. l:l Telefacsimile
l:lHand Delivered l:lOvernight
courier
l:lFederal Express l:lOther: E-mail
Signature:

fda Odwraa/

Lori W. Gazdag

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